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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

           IN RE:                                     )
                                                      )
                                                      )
           VANWINKLE, DEREK LEE                       )           CASE NO. 14-02251-FJO-7
           VANWINKLE, STACEY LEIGH                    )
                          Debtor                      )

                                     MOTION TO REOPEN

           Comes now Paul D. Gresk, the Chapter 7 trustee herein and in support of this

  motion makes the following showing:

           1)       That this matter was closed on June 14, 2014 after the Chapter 7 trustee

  determined that there were no assets to administer.

           2)       That by email followed by a telephone call the Chapter 7 trustee received

  information disclosing the debtors medical malpractice claim, an undisclosed asset in the

  bankruptcy petition.

           3)       That the Chapter 7 trustee requests that this Court issue an order that

  provides for the reopening of this bankruptcy proceeding in order to allow for the

  administration of a previously undisclosed asset, i.e. the Debtors medical malpractice

  claim.

           WHEREFORE, Paul D. Gresk, the Chapter 7 trustee of this bankruptcy

  proceeding, respectfully requests that this Court issue an order that provides for the

  reopening of this bankruptcy case.

                                           Respectfully submitted,

                                            /s/ Paul D. Gresk
                                           Paul D. Gresk, Chapter 7 trustee
                                           150 E. 10th Street
                                           Indianapolis, IN 46204
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                                       Fax no. 317-237-7912
                                       bankruptcy@gslawindy.com


                               CERTIFICATE OF SERVICE

         I hereby certify that this pleading has been served upon the below named parties

  by electronic mail and/or U.S. mail, postage prepaid on this the day upon filing with the

  U.S. Bankruptcy Court.

                                       April Michelle Hall
                                       Hall Law Office, P.C.
                                       120 East Market Street, Suite 1150
                                       Indianapolis, IN 46204


                                        /s/ Paul D. Gresk
                                       Paul D. Gresk
